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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                     for the
                                                        DistrictDistrict
                                                   __________    of NewofJersey
                                                                           __________

                  United States of America                              )
                             v.                                         )
                JOHN MICHAEL MUSBACH
                                                                        )       Case No.
                                                                        )                  20-mj-5666 (KMW)
                                                                        )
                                                                        )
                                                                        )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of           May 8, 2016 through May 20, 2016          in the county of               Atlantic          in the
                       District of          New Jersey             , the defendant(s) violated:

            Code Section                                                            Description of Offenses
18 U.S.C. Section 1958(a)                         See Attachment A




         This criminal complaint is based on these facts:
See Attachment B




         ✔ Continued on the attached sheet.
         ’

                                                                                                     Lance Herbert
                                                                                                  Complainant’s signature

                                                                                            S/A George "Lance" Herbert, HSI
                                                                                                   Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                 telephone                   (specify reliable electronic means).

Date:             08/10/2020
                                                                                                     Judge’s signature

City and state:                      District of New Jersey                          Hon. Karen M. Williams, U.S. Magistrate Judge
                                                                                                   Printed name and title



        Print                        Save As...                     Attach                                                  Reset
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                 CONTENTS APPROVED

            UNITED STATES ATTORNEY


                    By:
                            DIANA VONDRA CARRIG
                            Assistant U.S. Attorney

                    Date:      August 10, 2020
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                                ATTACHMENT A

                    (18 U.S.C. § 1958(a) – Murder-for-Hire)

      From in or around May 8, 2016 through in or around May 20, 2016, in
Atlantic County in the District of New Jersey, and elsewhere, defendant
                          JOHN MICHAEL MUSBACH

did knowingly and intentionally use and cause another to use any facility of
interstate and foreign commerce, that is, the internet, with the intent that a murder
be committed, in violation of the laws of the State of New York, that is, New York
Penal Law § 125.25 (murder in the second degree), and as consideration for the
receipt of anything of pecuniary value, that is, approximately 40 Bitcoin which
then had a value of approximately $20,000 in United States currency.
      In violation of Title 18, United States Code, Sections 1958(a).




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                                ATTACHMENT B

      George Lance Herbert, after being duly sworn, deposes and says as follows:

       1.    I, George Lance Herbert, am a Special Agent with Homeland Security
Investigations (“HSI”), an agency of the United States Department of Homeland
Security (“DHS”), and have been so employed since 2009. I am currently assigned
to the Special Agent in Charge Field Office in Newark, New Jersey.

      2.    My current duties include investigating cybercrimes on the clear web
and dark web, including, but not limited to, narcotics crimes, weapons trafficking,
human trafficking, child exploitation, kidnapping, murder for hire, and financial
crimes.

   A. Basis of Information.

       3.     This affidavit is based upon my personal knowledge; my review of
documents and other evidence; my conversations with other law enforcement
personnel and witnesses; and my training, experience and advice received
concerning the use of computers in criminal activity and the forensic analysis of
electronically stored information (“ESI”). Because this affidavit is being submitted
for the limited purpose of establishing probable cause, it does not include all the
facts that I have learned during my investigation. The statements contained in this
affidavit are reported in substance and in part unless otherwise indicated.

   B. The Subject Offense—18 U.S.C. § 1958(a).

       4.     For the reasons detailed below, I submit there is probable cause to
believe that defendant JOHN MICHAEL MUSBACH (“MUSBACH”) committed
a violation of Title 18, United States Code, § 1958(a), which criminalizes the use of
interstate commerce facilities in the commission of murder-for-hire, and provides as
follows:

         (a) Whoever travels in or causes another (including the intended
         victim) to travel in interstate or foreign commerce, or uses or causes
         another (including the intended victim) to use the mail or any facility
         of interstate or foreign commerce, with intent that a murder be
         committed in violation of the laws of any State or the United States
         as consideration for the receipt of, or as consideration for a promise
         or agreement to pay, anything of pecuniary value, or who conspires
         to do so [is guilty of a crime.]
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   C. Terminology.

5. Based on my training, research, education, and experience, I am familiar with
   the following relevant terms:

         (a) The “dark web,” also sometimes called the “dark net” or “deep web,”
         is a colloquial name for a number of extensive, sophisticated, and widely
         used criminal marketplaces operating on the Internet, which allow
         participants to buy and sell illegal items and services, such as drugs,
         firearms, assault/murder, and other hazardous materials with greater
         anonymity than is possible on the traditional Internet (sometimes called
         the “clear web” or simply “web”). These online black-market websites
         use a variety of technologies, including the Tor network (defined below)
         and other encryption technologies, to ensure that communications and
         transactions are shielded from interception and monitoring. A famous
         dark web marketplace, Silk Road, operated similar to legitimate
         commercial websites such as Amazon and eBay, but offered illicit goods
         and services. Law enforcement shut down Silk Road in 2013. More
         recently active dark web markets include AlphaBay and HANSA.

         (b) “Vendors” are the dark web’s sellers of goods and services, often of
         an illicit nature, and they do so through the creation and operation of
         “vendor accounts.” Customers, meanwhile, operate “customer
         accounts.” It is possible for the same person to operate one or more
         customer accounts and one or more vendor accounts at the same time.

         (c) Internet Relay Chat (“IRC”) is a method of communication, which
         allows its users to send and receive live, synchronous messages. There
         are thousands of IRC channels around the world, hosted on servers, on
         which people type text-like messages to others on the same channel who
         are interested in the same subject.

   D. MUSBACH Engaged in an Online Relationship with a 13-Year Old.

      6.    In or about the summer of 2015, MUSBACH began conversing via
the IRC cloud website with a then 13-year old (the “Victim”). At some point, those
IRC conversations turned sexual, and MUSBACH and the Victim exchanged
sexually explicit videos and photographs of themselves, including videos of
themselves masturbating.


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      7.      In or about September 2015, the Victim’s parents discovered the
online relationship between MUSBACH and the Victim and notified their local
law enforcement officers in the State of New York where the Victim resided.
Officers then began investigating MUSBACH’s conduct.

       8.     In or about September, 2015, the Victim notified MUSBACH that his
parents had called the police. Shortly thereafter, a New York law enforcement
officer also contacted MUSBACH and told MUSBACH to stay away from the
Victim. According to New York law enforcement records, by September 17, 2015,
MUSBACH had knowledge that he was under investigation for his online sexual
contact with the Victim.

       9.    As the investigation proceeded, New York law enforcement officers
learned that MUSBACH was then residing in Atlantic County, New Jersey, and
reached out to the Atlantic County Prosecutor’s Office (“ACPO”) who continued
the investigation.

      10. On or about March 31, 2016, officers from the ACPO arrested
MUSBACH on child pornography charges and executed a search warrant at
MUSBACH’s then-residence, 802 Blue Teal Drive, Galloway, New Jersey.
During the search, law enforcement officers seized MUSBACH’s cellular
telephone and also his business laptop provided to him by his then-employer, a
cloud hosting company (hereinafter referred to as “MUSBACH’s former
employer”). After receiving and waiving his Miranda warnings, MUSBACH
admitted to having sent sexually explicit images and videos of himself to the
Victim and having requested and received sexually explicit images and videos
from the Victim, all while knowing that the Victim was 13-years old.

       11. On or about October 11, 2017, MUSBACH pleaded guilty to
endangering the welfare of a child (the Victim) by sexual contact in violation of
N.J. Stat. Ann. § 2C:24-4A(1). On February 9, 2018, a New Jersey Superior Court
Judge sentenced MUSBACH to a two-year suspended sentence with parole
supervision for life.




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        E. Homeland Security Investigations, Newark, New Jersey, Received
           Information that an Individual Known as “agentisai” Attempted to
           Hire a Hitman.

          12. In or about January, 2019, an individual (hereinafter referred to as
    “SOURCE”) 1 provided information to federal law enforcement agents pertaining
    to a murder-for-hire website which operated on the dark net (hereinafter referred to
    as “WEBSITE”) 2 which purported to offer contract killings or other acts of
    violence in return for payment in cryptocurrency.

           13.     The WEBSITE’s homepage advertised the following:

         “If you want to kill someone, or to beat the shit out of him, we are the
         right guys. We have professional hitmen available throughout the entire
         USA, Canada and Europe and you can hire a contract killer easily. Most
         of our gang members are drug dealers but they do contract killing when
         they are short on cash. No undercover cops here. No risks of getting
         caught, because we are professional killers: We don’t ask you for your
         name, we don’t want to know who you are or where you live… You pay
         in Bitcoin to escrow, and money is held in escrow until job is done.”

          14. The SOURCE provided agents with some of the private
    communications between the WEBSITE administrators and those seeking its
    services – explaining that the SOURCE had had “scraped” the data from the
    WEBSITE by “hacking” the WEBSITE. That information included
    communications between WEBSITE administrators and an individual using the
    screenname “agentisai,” who was later determined to be defendant MUSBACH.




    1
     Based upon this investigation and others in which the SOURCE has provided information which
    has been corroborated by independent evidence, I believe the Source to be a reliable and credible
    source of information.
2
     The actual name of WEBSITE is known to law enforcement. The site remains involved in
    several other investigations and disclosure of the name of the site would potentially alert
    individuals to the fact that law enforcement action is being taken against the site and other users
    of the site. Accordingly, for purposes of the confidentiality and integrity of ongoing
    investigations, specific names and other identifying factors have been replaced with generic
    terms.


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            15. Specifically, the Source provided the following private messages
      between the Administrator (“Admin”) of the WEBSITE and the person using the
      screenname agentisai:

#   DATE     SENDER           MESSAGE
    & TIME
    12/26/15                  ** Date user, agentisai, signed up **
    23:51:27

1   5/7/16   agentisai        Hey there,
    20:05:00                  I am in south NJ and need a handgun with ammo because I lack
                              the ability to obtain one myself legally. How would getting this
                              work and how much would it cost?
2   5/8/16   Admin            Hello agentisai,
    20:05:00                  We received your message.
                              We usually reply within a few hours . . .
                              If you have any more questions or need any information please reply
                              to this message.
                              Thank you
                              Yura CyberTeam admin . . .
3   5/8/16   agentisai        Alternatively to a gun order, I could place a hit order. However, the
    18:43:00                  target would be 14.3 Is that an acceptable age or too young? I can
                              budget up to $20k for the order.
4   5/8/16   Admin            Hello,
    21:54:00                  Yes, 14 years old is acceptable.
                              We have gang members to do the hit; however the price is about
                              18500.
                              This should be in your budget, please add order using the order page
                              and add 40 bitcoin to your account
                              The bitcoin will remain into your account until the job is done
                              Let me know
5   5/9/16   agentisai        Ok I will get the bitcoin tomorrow the 9th and let you know once it's
    03:54:00                  there and the order placed.
6   05/10/16 Admin            Hi,
    06:49:00                  Ok,
                              If you need any help or assistance let me know

      3
       Although the Victim was 13 years old when the underlying child pornography conduct occurred,
      the Victim turned 14 years old during the pendency of the investigation and was 14 years old in
      May 2016.

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7   5/10/16 agentisai   Ok will do thanks. I got half of it in my wallet now:
    06:49:00            https://blockchain.info/address/1BMN3CuwtJHfcdNCG2z5iL72RwU
                        18aZadC
                        But my Coinbase purchase limit is $10,000 so I have to wait until
                        tomorrow to finish. Will let you know once that's done.

8   05/11/16 Admin      Hello,
    00:43:00            Ok. Please notice that all incoming bitcoins to our customer wallets
                        are mixed through our bitcoin mixer; because of this you might notice
                        a short delay of a few minutes up to a few hours for the bitcoin to
                        show up in your account balance.
                        let me know when done.
9   5/11/16 agentisai   Hello,
    20:41:00            I have transferred the remaining btc to the wallet. Once the balance
                        shows up here, I will place an order with all the details.
10 5/11/16 Admin        Hello,
   23:54:00             We received your new order information.
                        Please add Bitcoin to your personal Wallet on your account and we
                        will assign a hitman to your job.
                        If you have any questions or need any information please reply to this
                        message.
                        Please login daily to your account on [WEBSITE], to view replies
                        from us and updates on your job,
                        Looking forward to hear from you
                        Yura CyberTeam admin . . .
11 5/11/16 Admin        Hello,
   23:57:00             Ok. The bitcoin should be visible in your wallet shortly
                        please place your order and let me know
12 5/11/16 agentisai    Ok I placed the order. Thanks.
   23:58:00
13 5/12/16 Admin        Hello,
   00:4:00              We received the order. I have assigned a hitman on the job and he got
                        the info.
                        We will keep you posted in the next days, and we will tell you as soon
                        as is done, and provide proof
                        let me know
14 05/12/16 agentisai   Ok sounds good.
   00:10:00
15 5/14/16 agentisai    Hello,

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   01:02:00              Just wondering if a day has been picked?
                         Thanks.
16 5/17/16 agentisai     Hello,
   11:43:00              A little worried I haven't heard anything. There's three days left.
                         Please keep me posted on how things are going and do the job within
                         the next three days. If it's not possible, please let me know and I will
                         withdraw the bitcoin.
                         Thanks.
17 5/18/16 Admin         Hello,
   00:24:00              Yes, the day has been picked.
                         The hitman is there to do the job, I will keep you posted soon
18 5/18/16 agentisai     Great, sounds good thanks. I look forward to the update.
   12:55:00
19 5/19/16 Admin         Hi,
   19:50:00              There is a small problem; the assigned hitman got arrested for cocaine
                         possession while he was near the place.
                         We have an other hitman ready to do the hit, but he saith this is an
                         important person and he asks for an difference of $5000
                         Can you get the difference exchanged to bitcoin and deposited to your
                         account, for the new hitman to do your job? He is better than the one
                         who got arrested for cocaine; he can do it tomorrow on 20 05
                         If not, as soon as the assigned hitman is out, he will do the job. He
                         won’t be long, as his cocaine possession was not a large quantity
                         let me know
20 5/19/16 agentisai     Hello,
   20:03:00              Bummer. :( I can get the $5,000 extra but there is a $1,000 daily bank
                         account purchase limit. Can the other guy do the hit tomorrow, I will
                         give him the 40.64 BTC then and follow it up with the remainder
                         once I get it transferred? I can provide a screenshot of the money in
                         the bank account if need be.
21 5/19/16 agentisai     Hello,
   20:06:00              Actually, I can do the same thing I did previously which is wire
                         money to coinbase tomorrow and then on Monday I will be able to
                         convert the extra $5,000 and transfer it to here. Would the hitman be
                         willing to perform the hit tomorrow for the 40.64 and remainder on
                         Monday? Again, I can provide a screenshot of the account balance if
                         need be, But that’s as fast as I can get the extra money I’m afraid.
                         Thanks.
22 5/19/16    Admin      Hi,

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   21:23:00              I asked the hitman, he saith he can do the job once I confirm the
                         amount is in your personal balance; he is afraid that you might not
                         send the additional bitcoin after the hit is done, and since you are
                         anonymous, he could not be able to track you down to get it.
                         Maybe you can cash the money out and exchange bitcoin for cash; on
                         sites like localbitcoins.com ?
                         There are many traders who can trade bitcoin for cash
                         Let me know
23 5/19/16 agentisai     Hello,
   21:43:00              To confirm, if I get the $5,000 BTC tonight he can do the hit
                         tomorrow?
                         Thanks.
24 5/19/16 agentisai     Hello,
   23:08:00              I'm afraid I cannot find any source of bitcoin this short notice. I have
                         checked localbitcoins.com, and while there are people who will sell
                         there, they are all offline for the day. I also found a potential website
                         that may give me a quick turn around on the coins, but they too are
                         closed for the day. I think that up to this point I have been very honest
                         and shown that I do have the money I say I do and deposit it as soon
                         as I can. However, Bitcoin is a bit difficult to obtain and transfer short
                         notice. I'd really like for this transaction to end on a positive note, and
                         I have a vested interest in this being a success. To that end, I
                         completely intend to do all I can to ensure I have the $5,000 in bitcoin
                         by end of Monday if not tomorrow. However, given the variables at
                         play I cannot guarantee that I will have the Bitcoin by tomorrow
                         despite my best efforts.
                         I understand the concern of me not paying, although that is absolutely
                         not my intention. When I originally came here, my first inquiry was
                         for a gun which would've involved some sort of personal information
                         being provided I imagine. As such, to complete the job tomorrow, as
                         collateral would it be acceptable for me to provide my name and
                         address so that were I to walk off with the money I could be tracked
                         and/or hit myself?
                         I absolutely will do everything to get the $5,000 by end of Monday.
                         But I'd still like this job to be completed within the timeframe
                         originally agreed on. As such, can you please let me know if the
                         collateral previously mentioned will be acceptable in return for the
                         job being completed tomorrow? If it is not, I suppose I will cancel the
                         job and withdraw what bitcoin is currently here. But, I'd much rather
                         have the job done and everyone paid and happy just as soon as is
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                         possible.
                         Thanks and sorry for the long reply.
25 5/20/16 agentisai     Hello,
   01:27:00              Imay be able to get the bitcoin afterall in time for the hit tomorrow
                         afternoon. Is there a cutoff?”
                         Thanks.
26 5/20/16 agentisai     Hello,
   08:20:00              Sorry, last update…My localbitcoins.com contact fell through. Will
                         my suggestion of providing name and address as collateral while I get
                         bitcoin via coinbase by end of Monday work in exchange for the hit
                         taking place today (Friday) or should we just cancel this hit and I'll
                         withdraw the 40.64 bitcoin?
                         Thanks.
27 5/20/16 agentisai     Hello,
   16:01:00              I'm afraid that this won't work out given the circumstances. I've tried
                         submitting the withdraw form but haven't seen anything specific
                         happen. Can you please cancel the hit and send the 40.64 BTC to
                         1D1tDDFtbhqeYqVXaaxxUSjqmHenTBZdbU?
                         Thanks.
28 5/20/16 Admin         Hello,
   18:35:00              You sent a lot of messages in a short time, and we are going through
                         several improvements and updates on the website, this is why the
                         withdraw option was not working.
                         It will be working soon, when we finish the update
                         Regarding cancelation, sure, we can cancel and send you the bitcoins.
                         However, if you have a other date when our hitman can do the hit, we
                         would be happy to do it, even if the kid travels to a different location
                         we can assign a different hitman there, to find him
                         Let me know
29 5/20/16 agentisai     Hello,
   18:38:00              Sorry things didn’t work out. Thanks for the offer of trying some
                         other time but I think I'm done for now. Please send the 40.64 BTC to
                         1D1tDDFtbhqeYqVXaaxxUSjqmHenTBZdbU.
                         Thanks.
30 05/20/16 Admin        Hi,
   19:33:00              I am sorry to disappoint you.
                         Unfortunattely, our site is a scam, and we pass customer and target
                         information to law enforcement.



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                         We are able to dox the customers ( find out who they are ) by expert
                         IP and proxy analisis and as our site uses javascript to extract personal
                         information from the user computer.
                         The 40 Bitcoins are lost, if you want to avoid us give your info and
                         target info to law enforcement, please send us 20 Bitcoin – 10 000$ to
                         the same address as before.
                         Once we receive the additional money, we will delete your account,
                         all messages, and all information about you and the target.
                         If you don’t send the additional money, we will send all information
                         to law enforcement and you might be arrested, ordering murder and
                         paying for murder can get you in jail for a long time
                         please do not post anything about us blackmailing you anywhere, if
                         you do, we will immediately send your information to law
                         enforcement
                         let me know
31 05/20/16 agentisai    Hello,
   19:40:00              Is this a joke? Please just send my BTC back.
                         Thanks.
32 5/20/16 Admin         Hi,
   19:59:00              No, this is not a joke. The [WEBSITE] has been hacked. We the
                         hackers have full control over it, we infected it with malware and
                         javascript and extracted everything from your computer.
                         We have proofs that you ordered the murder, who you are, who the
                         target is, and proof that you paid for it, you will be arrested unless you
                         send us 22 bitcoin to this address
                         15guigVQg1SnZW2stqnK5cazTbU4aZLKo3
                         You have 4 days to do it, or you info is to police and you get 10 years
                         in jail
                         just search youtube for hiring hitmen arrested to see people arrested
                         for hiring hitmen
33 5/20/16 agentisai     Hello,
   20:03:00              Can you please provide me with the information you have on who I
                         am?
                         Thanks.
34 5/20/16 agentisai     Hello,
   20:21:00              I am a little confused as to where any javascript or malware comes
                         into play here. When looking at the dev console, I see absolutely no
                         requests for anything besides images. Again, if you can provide the
                         information you have on me I’d be glad to pay you the BTC you are
                         asking for.
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                          Thanks.
35 5/20/16 Admin          Hello,
   20:22:00               We will not provide any information to you, because we don’t know
                          if you are the customer or not. The site suffered multiple hacking
                          attempts, and you might not be the customer, you might be someone
                          else logged in as him.
                          If you are the customer, you will have to gamble on this.
                          Either be safe, send us 22 bitcoin and we delete your account and
                          everything, or you can gamble and let us send the info to the cops,
                          including your details, the target, and the blockchain transactions
                          this should be enough to get you arrested and in jail
36 5/20/16 Admin          I am not going to go into specific details with you or technical things.
   20:43:00               It will be your call. Risk it or play it safe.
                          Hope you purchased your bitcoins with case. The transactions on
                          blockchain can be traced back to your original account as well, that
                          has your full name and info on it.
                          That along, with all your info on there, with the bitcoin transactions,
                          and with the info here on [WEBSITE] and target info can get you
                          arrested
                          If the kid is a child of some influent person, you will be in jail long
                          time
                          Just sent the money and we delete all account and everything
                          Let me know


        F. Subsequent Investigation Revealed that “agentisai” is JOHN
           MICHAEL MUSBACH.

          16. As described more fully below, by investigating the source of the
     monies, HSI agents were able to link MUSBACH to the “agentisai” account.

            17. After receiving the information from the Source, HSI agents
     subpoenaed Coinbase, the virtual currency exchanger, for information pertaining
     to the Bitcoin wallet (1BMN3CuwtJHfcdNCG2z5iL72RwU18aZadC) into which
     agentisai allegedly deposited approximately $10,000 on May 10, 2016 (as
     discussed in the May 10, 2016 communication from agentisai, see ¶ 15 at entry 7).

           18. In response to the subpoena, Coinbase provided information and
     records showing that the Bitcoin wallet
     (1BMN3CuwtJHfcdNCG2z5iL72RwU18aZadC) was affiliated with a Coinbase

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account having a user id 572ffc99298d8727e400017e, which had been opened on
May 8, 2016 by and individual who identified himself as “John Musbach,” and
provided the following identifying information:

      •    Date of Birth XX/XX/1989;
      •    Social Security Number XX-XXX-5981;
      •    New Jersey Driver’s License Number MXXX XXXXX X4895;
      •    Bank of America Savings Account Number XXXXXX0897;
      •    802 Blue Teal Drive, Galloway, New Jersey; and
      •    Email account musbachjohn@gmail.com.

      19.    Based upon reviews of law enforcement data bases and reviews of
other records provided in this investigation, I am aware that defendant MUSBACH
has the same personal identifiers as the individual who opened the Coinbase
account.

      20.     In addition, Coinbase also provided a copy of a driver’s license it
received from the individual who opened the account. That driver’s license was
issued in the name of the defendant, that is, “John M. Musbach,” and contained a
photograph of the person I know to be MUSBACH, along with other identifying
information, including MUSBACH’s date of birth, driver’s license number and an
address affiliated with MUSBACH in Absecon, New Jersey. Accordingly, I have
identified MUSBACH as the owner of that Coinbase account (hereinafter referred
to as “MUSBACH’s Coinbase account”).

     21.     Coinbase also provided the following information:

           a. The user of MUSBACH’s Coinbase account sent 40.64 bitcoins to the
           bitcoin wallet 1BMN3CuwtJHfcdNCG2z5iL72RwU18aZadC.

             • This is the wallet affiliated with the WEBSITE as referenced in the
             May 10, 2016 message from agentisai (see ¶ 15, at entry 7).

           b. Bitcoin wallet 1D1tDDFtbhqeYqVXaaxxUSjqmHenTBZdbU
           belonged to MUSBACH’s Coinbase account.

             • This is the wallet that agentisai provided to the WEBSITE Admin
             on May 20, 2016, when attempting to obtain a refund of the monies
             paid for the hit (see ¶ 15, at entries 27 & 29).

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         c. The last activity by the user of MUSBACH’s Coinbase account was
         on May 24, 2016 when the user deleted his email account,
         musbachjohn@gmail.com.

      22. Following up on the information received from Coinbase, HSI Agents
served a subpoena to Bank of America (“BOA”) for information pertaining to the
bank account referenced in the Coinbase subpoena response, BOA Account
XXXXXX0897. Records from BOA showed that:

         a. $20,040.00 was wired from the 0897 BOA Account to MUSBACH’s
            Coinbase account on May 9, 2016; and

         b. The 0897 BOA Account is registered to John MUSBACH, at 802
            Blue Teal Drive, Galloway, New Jersey.

      23. As described more fully below, based upon the search warrant
executed by the ACPO on March 31, 2016 (see ¶ 10 above), I am aware that
defendant MUSBACH lived at 802 Teal Drive, Galloway, New Jersey in 2016.

      24. In or about October, 2019, HSI agents obtained a hard drive from the
ACPO containing a forensic image of the electronic evidence seized from the
search of MUSBACH’s residence. An examination of that hard drive revealed the
following information linking defendant MUSBACH to the "agentisai” username:

      a. An invoice for Icloud service provided by MUSBACH’s former employer
      addressed to John Musbach at johnmusbach1@gmail.com, which listed
      several user accounts, including “johnmusbach,” “johnmusbach1,”
      “agentisai,” “agent_isai,” and “is-ai;”

      b. Numerous google searches for “agent_isai irc;”

      c. Twitter searches for “Agent_Isai;”

      d. Facebook searches for “Isainode;” and

      e. The below listed Google searches, which began in or about September
      2015, shortly after New York law enforcement officers notified MUSBACH
      that they were investigating him for his involvement with a then-13-year-old
      Victim:

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          Date           Google Searches Found in MUSBACH’s Browsing History
September 27, 2015       Child grooming law
September 27, 2015       Child grooming nys
November 11, 2015        How are you notified of an indictment
November 14, 2015        Do gun shows take credit cards
December 23, 2015        nj sex offender search
December 24, 2015        Not guilty by reason of insanity
December 25, 2015        Death by chloroform
December 25, 2015        Where to buy chloroform
December 25, 2015        Chemical that passes you out
January 1, 2016          Nj gun shows
January 8, 2016          Nys restraining order search
January 11, 2016         Get information on investigations
January 16, 2016         Is it legal to buy a gun
January 26, 2016         Is calcium chloride toxic
February 1, 2016         Pa gun show
February 3, 2016         Death by caffeine
February 5, 2016         Poisonous hemlock
February 5, 2016         Poisonous plant
February 5, 2016         Kill all jews
February 5, 2016         Full erase macbook
March 5, 2016            Flouride poisoning
March 13, 2016           1 btc to USD
March 15, 2016           Coinbase
March 27, 2016           Look up restraining order NYS
March 27, 2016           NYS are you notified of a restraining order against you
Unable to recover the    How to buy a gun in NJ
date
Unable to recover the    KKK website
date
Unable to recover the    Settings_clear_browsing_data
date


         25. In or about March 2020, HSI served a subpoena to MUSBACH’s
   former employer. MUSBACH’s former employer’s subpoena response revealed
   that Musbach created the following user accounts while working for MUSBACH’s
   former employer, each of which was associated with a different email address:

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         (a) Johnmusbach created on 9/7/14 with associated email,
         jmusbach@[MUSBACH’s former employer].com;

         (b) agent_isai created on 11/8/15 with associated email
         webmaster@isainode.net;

         (c) agentisai created on 11/26/15 with associated email
         isaicastro99@yahoo.com; and

         (d) is-ai created on 1/16/16 with associated email agentisai@gmail.com.

      26. Pursuant to New York Penal Law § 125.25: “[a] person is guilty of
murder in the second degree when . . . [w]ith the intent to cause the death of
another person, he causes the death of such person or of a third person.”

   G. Conclusion.

       27. Based upon the investigation, I have probable cause to believe that
from the time period from on or about May 8, 2016 through May 20, 2016,
defendant MUSBACH communicated with a person or persons he believed ran a
murder for hire website and ordered and paid for a “hit” on a Victim who was
then, a 14-year old child. As explained above, at the time MUSBACH contracted
for the murder of Victim, MUSBACH knew he was under investigation for
exchanging sexually explicit images with Victim. An examination of
MUSBACH’s computer, revealed several internet searches establishing
MUSBACH’s intent to injure or kill an individual and also to cover-up these
actions. The communications between agentisai and the WEBSITE administrators
make it clear that agentisai paid approximately $20,000.00 (40.64 bitcoins) in an
attempt to hire a hitman to kill a then-14-year old child. The subsequent
investigation positively identified “agentisai” as the defendant John MUSBACH.
Significantly, MUSBACH’s BOA bank account wired $20,040.00 to
MUSBACH’s Coinbase account. MUSBACH’s Coinbase account then
transferred 40.64 bitcoins from to the WEBSITE. MUSBACH made several
requests to have the 14-year old child Victim murdered and, only after realizing
that the murder was not going to happen, requested to cancel the “hit” and sought
the return of the $20,000.00 worth of bitcoins.




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